        Case 4:11-cr-00156-JM         Document 819        Filed 12/02/16      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 NO. 4:11CR00156-03-JLH

KRISTON D. BIRMINGHAM                                                               DEFENDANT

                                             ORDER

       Kriston D. Birmingham has filed a motion for early termination of supervised release. The

Court directs the United States to file a response to the motion on or before December 15, 2016. The

Court directs the probation office to provide the Court with a report regarding this motion.

       IT IS SO ORDERED this 2nd day of December, 2016.



                                                     __________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
